            Case 1:18-cr-00155-LJO-SKO Document 13 Filed 07/10/19 Page 1 of 3


 1   The Law Offices of Paul Delano Wolf
     Paul Delano Wolf, SBN 78624
 2   The Law Office of Adam Pennella
     Adam Pennella, SBN 246260
 3   717 Washington Street
     Oakland, CA 94607
     P. (510) 451-4600
 4   F. (510) 451-3002
 5   Counsel for Defendant
     SANDRA HAAR
 6

 7                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
 8
                                          FRESNO DIVISION
 9
     UNITED STATES OF AMERICA,                        Case No. CR 18-155 LJO
10
                    Plaintiff,
11          v.
                                                      STIPULATION AND ORDER TO
                                                      CONTINUE SENTENCING HEARING
12   SANDRA HAAR,

13                  Defendant.

14

15          The above-captioned matter is currently set for a sentencing hearing on August 12, 2019.
16   Based on the information below, the parties respectfully request that the Court continue that
17   hearing to October 7, 2019 and set the briefing schedule described below.
18        By way of background, defendant Sandra Haar made her initial appearance, was arraigned,
19   and pled guilty to a two-count Information on August 13, 2018. At that time the matter was
20   referred to U.S. Probation for completion of a Presentence Investigation Report (“PSR”) and
21   sentencing was set for late January, 2019. Ms. Haar interviewed with, and provided substantial
22   information and documentation to Probation, in the Fall 2018. However, Probation needed
23

24

25
                                                                                                      1
26
            Case 1:18-cr-00155-LJO-SKO Document 13 Filed 07/10/19 Page 2 of 3


 1   additional time to complete the PSR. Therefore, there have been multiple stipulations to

 2   continue sentencing to accommodate Probation.

 3        The most recent stipulation and order set sentencing for August 12, 2019 with the draft

 4   PSR due April 15th and briefing schedule to follow. However, the parties did not receive the

 5   draft PSR until the afternoon of July 8, 2019. The defense requires additional time to address

 6   multiple issues raised by the PSR and the current schedule conflicts with defense counsel

 7   vacations which were planned months ago for soon after August 12.

 8        Finally, defense counsel represents that Ms. Haar has an additional complicated medical

 9   procedure (an angiogram of the brain to determine if she still remains at risk of another stroke)

10   that was supposed to occur in August, 2019. However, her current insurance will not cover that

11   very costly procedure. She is currently awaiting her disability hearing (set for August 22, 2019)

12   and her Medicare in order to have the procedure completed.

13        Given the above, the parties stipulate to the following briefing schedule for this matter,

14   which is agreeable with the Probation Officer assigned to the case:

15                  August 26, 2019: informal objections to opposing counsel and Probation
                    September 9, 2019: final PSR due to the parties and the Court
16
                    September 23, 2019: formal objections to the PSR filed with the Court
17
                    September 30, 2019: sentencing memoranda filed with the Court
18
          The parties therefore request that this matter be continued to October 7, 2019 at 11:00
19
     a.m. for sentencing and that the above briefing schedule be set.
20

21

22

23

24   //

25
                                                                                                         2
26
           Case 1:18-cr-00155-LJO-SKO Document 13 Filed 07/10/19 Page 3 of 3


 1        SO STIPULATED:

 2
     Dated: July 9, 2019                      _____________/s/_____________
 3                                            Paul Wolf
                                              Adam Pennella
 4                                            Counsel for Sandra Haar
 5
     Dated: July 9, 2019                      MCGREGOR SCOTT
 6                                            UNITED STATES ATTORNEY
 7
                                              _____________/s/_____________
 8                                            Lee Bickley
                                              Assistant United States Attorney
 9

10   IT IS SO ORDERED.
11      Dated:    July 9, 2019                 /s/ Lawrence J. O’Neill _____
                                        UNITED STATES CHIEF DISTRICT JUDGE
12

13

14

15

16

17

18

19

20

21

22

23

24

25
                                                                                 3
26
